      Case 1:07-cv-00143-jgm Document 176 Filed 03/29/11 Page 1 of 4



                    UNITED STATES DISTRICT COURT
                               FOR THE
                         DISTRICT OF VERMONT


ROBERT A. FORTUNATI, ADMINISTRATOR :
OF THE ESTATE OF JOSEPH FORTUNATI; :
ROBERT A. FORTUNATI, SUSAN         :
FORTUNATI; AND MARK FORTUNATI,     :
                                   :
                    Plaintiffs,    :
                                   :
                                   :
                v.                 :         File No. 1:07-cv-143-jgm
                                   :
ANDREW CAMPAGNE, MARC THOMAS,      :
JEREMY HILL, TODD PROTZMAN,        :
ROB SNETSINGER, KARL GARDNER,      :
HUGH O’DONNELL, MIKE DUDLEY &      :
WALTER GOODELL,                    :
                                   :
                    Defendants.    :
___________________________________:


                         MEMORANDUM AND ORDER
                          (Docs. 172 and 175)

     Plaintiffs Robert A. Fortunati, as Administrator of the

Estate of Joseph Fortunati, Robert A. Fortunati, Susan Fortunati,

and Mark Fortunati have filed a Motion requesting the Court

revise its December 29, 2009 Summary Judgment Order.          (Doc. 172.)

     The facts relevant to this Motion have been recounted in

detail in the December 29, 2009 Ruling on Defendants’ Motion for

Summary Judgment (Doc. 101) (“Summary Judgment Order”),

familiarity with which is assumed.       With their Motion, Plaintiffs

have submitted a photograph depicting the scene of Joseph

Fortunati’s shooting, shown to Defendant Jeremy Hill during his

deposition testimony on March 23, 2009, and bearing Hill’s marks
        Case 1:07-cv-00143-jgm Document 176 Filed 03/29/11 Page 2 of 4



indicating where he believed Joseph Fortunati and various

troopers were standing at the time of Joseph’s death.            (Doc. 172-

1.)   Plaintiffs argue the photograph markings indicate Hill had a

clear view of Joseph Fortunati at the time of the shooting.              The

markings indicate there were four troopers standing between Hill

and Joseph Fortunati, and two of them were directly in front of

Hill.   (Id.)    The photograph was not included in the original

summary judgment filings.

      Plaintiffs argue their Motion is made under Federal Rule of

Civil Procedure 54(b), which provides that an order or decision

adjudicating fewer than all the claims in an action does not end

the action and may be revised at any time before entry of

judgment.    Fed. R. Civ. P. 54(b).       Defendants argue the Motion is

untimely.    Local Rule 7(c) provides that a motion for

reconsideration, other than one made under Rules 59 or 60, must

be filed within 14 days of the date of an order.           D. Vt. L.R.

7(c).   A Rule 59 motion must be filed within 28 days of an order.

Fed. R. Civ. P. 59.

      Even if Plaintiffs’ Motion were made under the authority of

Rule 60, which permits relief from a final order when a motion

articulates a reason justifying relief, and even if the Motion

were deemed filed within a reasonable time after the Summary

Judgment Order, the Plaintiffs’ arguments fail on the merits.




                                      2
        Case 1:07-cv-00143-jgm Document 176 Filed 03/29/11 Page 3 of 4



     The Court, having carefully reviewed the entirety of Jeremy

Hill’s deposition testimony and the photograph submitted by

Plaintiffs, finds that the photograph does not create any genuine

issue of material fact regarding whether Joseph Fortunati had a

gun in his hand at the moment he was killed.           The photograph does

not contradict, but rather supports, Hill’s deposition testimony

that he was standing behind several other troopers moments before

and immediately before Joseph’s death, that he could only see

Joseph, who was standing behind trees, “periodically,” he

“couldn’t see his whole body,” and he could only see “parts of”

Joseph at the moment of his death.         (Doc. 172-2, Hill Dep. Test.

at 72, 77.)    Furthermore, Hill’s testimony confirmed that he

reported having observed Joseph “reaching for something in his

waistband area” after a beanbag round went off, prior to the

shooting.    (Id. at 76-77.)     The photograph does not call any of

Hill’s testimony into question, and does not contradict that Hill

lacked a clear view of what was happening, or that Hill could not

recall whether he could see Joseph’s hands from where he was

located.    (Id. at 78.)

     Therefore, Plaintiffs’ Motion to Revise the Summary Judgment

Order (Doc. 172) is DENIED.       Plaintiffs’ Motion for Ruling on

Pending Motions and for Final Judgment (Doc. 175) is DENIED as

moot.

     SO ORDERED.


                                      3
      Case 1:07-cv-00143-jgm Document 176 Filed 03/29/11 Page 4 of 4



     Dated at Brattleboro, in the District of Vermont, this 29th

day of March, 2011.


                            /s/ J. Garvan Murtha
                            Honorable J. Garvan Murtha
                            Senior United States District Judge




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